Case 2:05-cr-20250-.]PI\/| Document 61 Filed 08/29/05 Page 1 of 3 Page|D 66

 

IN THE UNITED sTATES DISTRICT coURT HHJBY___ _
FOR THE wEsTERN DISTRICT OF TENNESSEE """*°'c
wEsTERN DIVISION USME 29 AH saw
OMM
UNITED sTATES oF AMERICA Wk}%§ USMTUBT

Plaintiff,

criminal NO.J_S:- QO&N Ml

(60-Day Continuance)

gbdn§/ C/a/V

 

 

 

 

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Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF‘ TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November lB, 2005. Agreed in

open court at report date this 26ch day of August, 2005.

T'ms document entered on the docket shea |n com |ianca
mm sue ;:: and/or 32(b) FRCrP on 3 ',é/*O g /

Case 2:05-cr-20250-.]PI\/| Document 61 Filed 08/29/05 Page 2 of 3 Page|D 67

so oRDERED this 26ch day of August, 2005.

@MQQ

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

264 @,&~J

Assistant United States Attorney

 

 

 

wang A,»M,i

 

 

 

Counsel for Defendant(s)

   

UNITED S`TATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 61 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

